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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA


DAVID HENDERSON AND DEANNA                         CIVIL ACTION NO.:
HENDERSON
                                                   SECTION:
versus
                                                   JUDGE:
JAYCO, INC. OF INDIANA
DIXIE MOTORS, LLC AND BANK OF                      MAGISTRATE JUDGE
THE WEST


                               NOTICE OF REMOVAL

         Defendants Jayco, Inc. of Indiana (“Jayco”) and Dixie Motors, LLC (“Dixie”)

hereby give notice and remove this action from the 21st Judicial District Court,

Tangipahoa Parish, State of Louisiana, pursuant to 28 U.S.C. §§ 1441 and 1446,

and based on the Court’s jurisdiction under 28 U.S.C. § 1332. In support of this

removal, and reserving all rights, objections, defenses, and motions, Jayco and Dixie

assert the following:

                                             1.

         On November 18, 2019, David Henderson and Deanna Henderson

(collectively the “Hendersons”) filed a state court Petition in the matter captioned

“David Henderson and Deanna Henderson v. Jayco, Inc. of Indiana, Dixie Motors,

LLC and Bank of the West,” No. 2019-0003664, Division A, in Louisiana’s 21st

Judicial District Court, Tangipahoa Parish, Louisiana. For purposes of this

pleading, the state court filing is referred to herein as the “Petition.”




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         Plaintiffs filed their state court suit on November 18, 2019. Thus, this Notice

of Removal is filed timely, as required by 28 U.S.C § 1446(b), because it was filed

within thirty days of defendants’ receipt of the suit and within one year of the filing

of the Petition.

                               BASIS FOR REMOVAL
                             DIVERSITY JURISDICTION

                                             2.

         28 U.S.C. § 1446(a) requires only a “short and plain statement of the grounds

for removal.”

                                             3.

         This Court has jurisdiction over this action under 28 U.S.C. §§ 1332 and 1441

because at the time the Petition was filed and at the time of removal: (a) there was

and is complete diversity of citizenship between the Hendersons and each of the

removing defendants, and (b) the amount in controversy exceeds $75,000, exclusive

of interest and costs.

                                             4.

         According to the Petition, the Hendersons are both Tennessee residents. See

Petition, ¶1.

                                             5.

         The Petition alleges that Jayco is an Indiana corporation which is registered

to do business in Louisiana. See Petition, ¶2.




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                                               6.

         The Petition alleges that Dixie is a Louisiana limited liability company

authorized to do business in Louisiana. See Petition, ¶3.

                                               7.

         For purposes of diversity jurisdiction, the citizenship of a limited liability

company like Dixie is determined by the citizenship of its members.

                                               8.

         The members of Dixie are Gregory A. LaLa and Stephen Guidry, both of

whom are domiciled in Louisiana and residents of Louisiana.

                                               9.

         On information and belief, Defendant Bank of the West is a California

corporation with its principal place of business in San Francisco, California.

                                               10.

         Consequently, complete diversity of citizenship exists between the parties.

                                               11.

         As to the amount in controversy, a district court has jurisdiction based on

diversity of citizenship under 28 U.S.C. § 1332(a) when “the matter in controversy

exceeds the sum or value of $75,000.”

                                               12.

         The removing party meets its burden of proving the requisite jurisdictional

amount if it: (1) demonstrates that it is apparent from the face of the Petition that

the claims are likely to exceed the jurisdictional amount; or alternatively, (2) sets



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forth “summary judgment type evidence” of facts in controversy that support a

finding of the requisite amount. Manguno v. Prudential Prop. & Cas. Ins. Co., 276

F.3d 720, 723 (5th Cir. 2002); Allen v. R. & H. Oil & Gas Co., 63 F.3d 1326, 1335

(5th Cir. 1995). “[D]efendants do not need to attach evidence supporting the alleged

amount in controversy to the notice of removal.” Statin v. Deutsche Bank Nat. Tr.

Co., 599 Fed.Appx. 545, 546 n.1 (5th Cir. 2014). “When a plaintiff invokes federal-

court jurisdiction, the plaintiff’s amount-in-controversy allegation is accepted if

made in good faith.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct.

547, 553 (2014). Only a “short and plain statement of the grounds for removal” is

required. Id. at 554.

                                            13.

         When a plaintiff does allege a specific amount of damages, then the sum

claimed by the plaintiff will control if that claim is apparently made in good faith.

Brand Energy Sols., LLC v. Rakocy, 2016 U.S. Dist. LEXIS 179703, at *5 (E.D. La.

Dec. 29, 2016).

                                            14.

         Although defendants deny any liability to the Hendersons, defendants allege

that: (a) on the face of the Henderson’s Petition, and upon information and belief,

the amount in controversy, exclusive of interest and costs, exceeds $75,000; and (b)

the Hendersons have not alleged in their Petition that the amount in controversy

falls below that amount.




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                                             15.

         This action asserts claims of redhibition and damages, including recovery of

attorney’s fees, all of which arise from the Hendersons’ purchase of a 2019 Jayco

Entegra Insignia Model 44R motorhome. See Petition, ¶8.

                                             16.

         The purchase price of the Hendersons’ motorhome was $301,329.45. See

Petition, ¶9.

                                             17.

          In connection with their claims, the Hendersons seek a full rescission of the

sale of their motorhome and return of their purchase price, along with recovery of

other damages, and attorney’s fees. See Petition, ¶26.

                                             18.

         In addition to a return of their purchase price, Louisiana redhibition law

allows buyers like the Hendersons to recover expenses “occasioned by the sale” and

preservation expenses. See La. Civ. Code art. 2531. They also may be entitled to

recovery of attorney’s fees. See La. Civ. Code. art. 2545.

                                             19.

         Attorney’s fees may be included to determine the amount in controversy

when such fees are permitted by contract or a state statute. Foret v. Southern Farm

Bureau Life Ins. Co., 918 F.2d 534, 537 (5th Cir. 1990). See also Kent Materials,

LLC v. Dirt Works, 2016 U.S. Dist. LEXIS 119107, at *14 (M.D. La. Aug. 11, 2016)

(citing Quebe v. Ford Motor Co., 908 F. Supp. 446, 449 (W.D. Tex. 1995)).



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                                             20.

         Thus, based on the allegations made in the Hendersons’ petition, a sufficient

amount in controversy exists to support diversity subject matter jurisdiction.

                                        VENUE

                                             21.

         The United States District Court for the Eastern District of Louisiana is the

federal judicial district embracing the 21st Judicial District Court for Tangipahoa

Parish, State of Louisiana and, thus, venue is proper in this district pursuant to 28

U.S.C. § 1441(a) and 28 U.S.C § 98(a).

                              REMOVAL PROCEDURE

                                             22.

         Defendants have attached a copy of all process, pleadings and orders served

upon it in accordance with 28 U.S.C. § 1446(a) as Exhibit “1”, en globo.

                                             23.

         Pursuant to 28 U.S.C. § 1446(d), undersigned counsel certifies that this

Notice of Removal will be served promptly on the Hendersons and will be filed with

the Clerk of Court for the 21st Judicial District Court, Tangipahoa Parish,

Louisiana.

                                             24.

         Defendants reserve the right to amend or supplement this Notice.




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                                            25.

         Defendants Jayco and Dixie have joined in this notice of removal. On

information and belief, defendant Bank of the West has not been served as of the

time of this removal, and thus, its consent is not required.

         For these reasons, defendants pray that this Notice of Removal be considered

good and sufficient



Dated: December 13, 2019.               Respectfully submitted:

                                        Jones Walker L.L.P.

                                        /s/ Ryan E. Johnson
                                        James C. Percy (La. Bar. No 10413)
                                        Ryan E. Johnson (La. Bar No. 26352)
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                           CERTIFICATE OF SERVICE


        I hereby certify that this pleading has been filed through the Court’s CM/ECF
filing system. I further certify that I will serve a copy of this pleading by U.S. Mail
and/or electronic mail, along with the attachments thereto, to counsel for parties
this 13th day of December, 2019.

         Richard C. Dalton
         1343 West Causeway Approach
         Mandeville, Louisiana 70471
         Attorney for Plaintiffs

         Bank of the West
         Through its registered agent:
         C T Corporation System
         3867 Plaza Tower Drive
         Baton Rouge, Louisiana 70816



                                         s/ Ryan E. Johnson




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